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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Eagle Valley Energy Partners, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  13413 Galleria Circle, Suite Q-100
                                  Austin, TX 78738
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Travis                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.eaglevalleyenergy.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Eagle Valley Energy Partners, LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2131

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Eagle Valley Energy Partners, LLC                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Eagle Valley Energy Partners, LLC                                           Case number (if known)
         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Eagle Valley Energy Partners, LLC                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 27, 2023
                                                  MM / DD / YYYY


                             X   /s/ Gary Barton                                                          Gary Barton
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Tom A. Howley                                                         Date January 27, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tom A.Howley
                                 Printed name

                                 Howley Law PLLC
                                 Firm name
                                 Pennzoil Place - South Tower
                                 711 Louisiana Street, Ste. 1850
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 333-9125                Email address      tom@howley-law.com

                                 24010115 TX
                                 Bar number and State




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Debtor     Eagle Valley Energy Partners, LLC                                                   Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter     11
                                                                                                                         Check if this an
                                                                                                                            amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Eagle Valley Development, LLC                                              Relationship to you               Affiliated Entity
District   Western District of Texas                  When    01/27/2023              Case number, if known
Debtor     Eagle Valley Minerals, LLC                                                 Relationship to you               Affiliated Entity
District   Western District of Texas                  When     01/27/2023             Case number, if known
Debtor     Eyrie Holdings, LLC                                                        Relationship to you               Affiliated Entity
District   Western District of Texas                  When     01/27/2023             Case number, if known
Debtor     Eyrie Mineral Holdings, LP                                                 Relationship to you               Affiliated Entity
District   Western District of Texas                  When     01/27/2023             Case number, if known




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       OMNIBUS WRITTEN CONSENT OF THE (I) BOARD OF MANAGERS
  AND MANAGEMENT OF EAGLE VALLEY ENERGY PARTNERS, LLC AND (II) THE
        SOLE MEMBER AND GENERAL PARTNER OF ITS SUBSIDIARIES


                                  Dated effective January 25
                                                          __, 2023

         The undersigned, being (i) the members of the Board of Managers (the “Board”) of Eagle
  Valley Energy Partners, LLC (“EVEP”), (ii) senior management (“Management”) of EVEP, (iii)
  EVEP, as the sole member (the “Sole Member”) of each of Eagle Valley Minerals, LLC (“EVM”),
  Eyrie Holdings, LLC (“EH”), and Eagle Valley Development, LLC (“EVD”), and (iv) EVM, as
  the general partner (the “General Partner”) of Eyrie Mineral Holdings, LP (“EMH” and, together
  with EVM, EH, and EVD, the “Subsidiaries” and, together with EVEP, the “Company”) each
  hereby consent to the following actions and adopt the following resolutions with respect to EVEP
  and each of the Subsidiaries in lieu of a meeting, effective as of the date hereof.

          WHEREAS, the Board, Management, the Sole Member, and the General Partner have
  reviewed (i) the historical performance of the Company, (ii) the recent arbitration award to
  Halliburton Energy Services, Inc., (iii) the Company’s current operations, (iv) the Company’s
  current liquidity and capital needs and (v) the current and long-term liabilities of the Company;
  and

         WHEREAS, the Company is unable to obtain financing from any sources commensurate
  with the prepetition secured loan, debtor in possession financing, and exit financing being offered
  by AB Eagle Holdings, LLC, a Delaware limited liability company (“Lender”);

         WHEREAS, after consultation with counsel to the Company, Management has
  recommended to the Board, the Sole Member, and the General Partner that the Company file
  chapter 11 cases and obtain financing from Lender to protect the assets and properties of the
  Company and to preserve the value of the Company for the benefit of their creditors, stockholders
  and other interested parties and have requested the approval of the Board to make such filing;

          WHEREAS, the Board, the Sole Member, and the General Partner have reviewed and
  considered the materials presented by Management and the Company’s legal advisors regarding
  the liabilities and liquidity of the Company, the alternatives available to it, and the impact of the
  foregoing on the Company’s business;

          WHEREAS, the Board, the Sole Member, and the General Partner have had the
  opportunity to consult with Management and the Company’s legal advisors and fully consider each
  of the alternatives available to the Company;

         WHEREAS, the Company has retained Gary Barton of Riveron Management Services,
  LLC (“Riveron”) to serve as Chief Restructuring Officer for the Company, subject to the terms
  and conditions of the retainer letter dated December 15, 2022.

  Filing and Prosecution of Chapter 11 Cases




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         RESOLVED, that EVEP and each Subsidiary file or cause to be filed voluntary petitions
  (the “Chapter 11 Petitions”) seeking relief (the “Chapter 11 Cases”) under the provisions of
  chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and it is further

          RESOLVED, that, in connection with the commencement of the Chapter 11 Cases, each
  of the executive officers of the Company, including the Chief Restructuring Officer ( (collectively,
  the “Authorized Officers”) is authorized and directed to seek approval of an order or orders
  authorizing the incurrence of postpetition debtor-in-possession financing from the Lender, and any
  Authorized Signatory be, and hereby is, authorized, empowered, and directed to negotiate, execute,
  and deliver any and all agreements, instruments, or documents, by or on behalf of the Company,
  necessary to implement such orders, as well as any additional or further agreements for the use of
  cash collateral in connection with the Chapter 11 Cases, which agreement(s) may require the
  Company to grant liens to the Lender and each other agreement, instrument, or document to be
  executed and delivered in connection therewith, all with such changes therein and additions thereto
  as any Authorized Officer approves, such approval to be conclusively evidenced by the taking of
  such action or by the execution and delivery thereof, subject to Bankruptcy Court approval;
  provided, however, that the following members of the Board have abstained from voting on this
  resolution: Michael Land, Cody Richards, and Petter Stensland; and it is further

          RESOLVED, that the Authorized Officers be, and each hereby is, authorized and directed
  to execute and verify the Chapter 11 Petitions and to cause the same to be filed in the United States
  Bankruptcy Court for the Western District of Texas (the “Bankruptcy Court”), in such form and
  at such time as such Authorized Officer(s) shall determine; and it is further

          RESOLVED, that the form, terms and provisions of the plan of reorganization are hereby
  authorized and approved, and that the Authorized Officers be, and each of them hereby is,
  authorized and directed, for and in the name and on behalf of the Company, to cause to be filed
  with the Bankruptcy Court (or direct others to do so on behalf of the Company as provided herein)
  such documents together with the Chapter 11 Petitions, or at such time as is reasonably practicable
  after the filing of the Chapter 11 Petitions; and it is further

           RESOLVED, that all first day motions, as may be determined to be advisable by
  Management and/or the Chief Restructuring Officer, are hereby authorized and approved, and the
  Authorized Officers be, and each of them hereby is, authorized and directed, for and in the name
  and on behalf of the Company, to cause to be filed with the Bankruptcy Court (or direct others to
  do so on behalf of the Company as provided herein) such motions together with the Chapter 11
  Petitions, or at such time as is reasonably practicable after the filing of the Chapter 11 Petitions;
  and it is further

          RESOLVED, that the Authorized Officers be, and each hereby is, authorized to execute
  and file (or direct other to do so on behalf of the Company as provided herein) all necessary
  documents, including, without limitation, all petitions, affidavits, schedules, motions, lists,
  applications, pleadings, motions for use of cash collateral, financing agreements and security
  agreements and related documents, stipulations as needed under all sections of the Bankruptcy
  Code, a plan of reorganization and other papers in connection with the chapter 11 cases; and it is
  further



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         RESOLVED, that all acts lawfully done or actions lawfully taken by any Authorized
  Officer to seek relief under chapter 11 of the Bankruptcy Code or in connection with the chapter
  11 cases, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed and
  approved in all respects as the acts and deeds of the Company; and it is further

         RESOLVED, that the Company is authorized, empowered and directed to retain the
  law firm of Howley Law PLLC (“Howley Law”) as bankruptcy counsel to represent and assist
  the Company and its Subsidiaries in carrying out their duties under chapter 11 of the
  Bankruptcy Code, and to take any and all actions to advance the Company’s and the
  Subsidiaries’ rights in connection therewith, and the Company is hereby authorized and
  directed to execute appropriate retention agreements, pay appropriate retainers prior to and
  immediately upon the filing of the bankruptcy petition, and to cause to be filed an appropriate
  application for authority to retain the services of Howley Law; and it is further

          RESOLVED, that the Chief Restructuring Officer is authorized on behalf of the
  Company to take any and all actions, to execute, deliver, certify, file and/or record and
  perform all documents, agreements, instruments, motions, affidavits, applications for
  approvals or rulings of governmental or regulatory authorities or certificates and to take any
  and all actions and steps deemed by the Chief Restructuring Officer to be necessary or
  desirable to carry out the purpose and intent of each of the foregoing resolutions and to
  effectuate a successful chapter 11 cases, including, but not limited to post-petition financing,
  a sale of the Company’s and Subsidiaries’ assets, the development, filing and prosecution to
  confirmation of a chapter 11 plan; and it is further

         RESOLVED, that any and all actions heretofore taken by the Company or Chief
  Restructuring Officer in the name and on behalf of the Company in furtherance of the purpose
  and intent of any or all of the foregoing resolutions be, and hereby are, ratified, confirmed,
  and approved in all respects; and it is further

  General Authorizing Resolutions for Chapter 11

          RESOLVED, that the Authorized Officers be, and each of them, with full authority to act
  without the others, hereby is authorized and directed, in the name of and on behalf of the Company,
  under the corporate seal or otherwise, to make, enter into, execute, deliver and file any and all
  other or further agreements, documents, certificates, materials and instruments, to disburse funds
  of the Company, to take or cause to be taken any and all other actions, and to incur all such fees
  and expenses as any such Authorized Officer deems to be necessary, appropriate or advisable to
  carry out the purposes of the foregoing resolutions and the transactions contemplated thereunder
  and/or to successfully complete a chapter 11 case, the taking of any such action to constitute
  conclusive evidence of the exercise of such discretionary authority; and it is further

         RESOLVED, that all authorized acts, transactions or agreements undertaken prior to the
  adoption of these resolutions by any officer of the Company in connection with the foregoing
  matters are hereby authorized, approved, ratified, confirmed and adopted as the acts of the
  Company; and it is further




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          RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
  empowered and directed to certify and attest any documents or materials which they deem
  necessary, desirable or appropriate to consummate the transactions contemplated by the foregoing
  resolutions, without the necessity of the signature or attestation of any other officer of the affixing
  of any seal of the Company; and it is further

  Omnibus Resolutions

           RESOLVED, that any of the Authorized Officers be, and each of them hereby is,
  authorized (i) to prepare, execute, deliver and perform, as the case may be, such agreements,
  amendments, applications, approvals, certificates, communications, consents, demands,
  directions, documents, further assurances, instruments, notices, orders, requests, resolutions,
  supplements or undertakings, (ii) to pay or cause to be paid on behalf of the Company any related
  costs and expenses and (iii) to take such other actions, in the name and on behalf of the Company,
  as each such officer, in his or her discretion, shall deem necessary or advisable to complete and
  effect the foregoing transactions or to carry out the intent and purposes of the foregoing resolutions
  and the transactions contemplated thereby, the preparation, execution, delivery and performance
  of any such agreements, amendments, applications, approvals, certificates, communications,
  consents, demands, directions, documents, further assurances, instruments, notices, orders,
  requests, resolutions, supplements or undertakings, the payment of any such costs or expenses and
  the performance of any such other acts shall be conclusive evidence of the approval of the Board
  thereof and all matters relating thereto; and it is further

          RESOLVED, that all actions heretofore taken by the officers and directors of the Company
  with respect to the foregoing transactions and all other matters contemplated by the foregoing
  resolutions are hereby approved, adopted, ratified and confirmed.

  IN WITNESS HEREOF, and subject to the abstentions noted herein, the undersigned execute
  this written consent to be effective as of January __,
                                                     25 2023.



                                       [Signature Pages Follow}




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  BOARD OF MANAGERS




  Petter Stensland




  Cody Richards




  Michael Land




  Matthew J. Telfer




  Jonathan J. Nash


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  BOARD OF MANAGERS


  Petter Stensland




  Cody Richards




  Michael Land




  Matthew J. Telfer



  Jonathan J. Nash


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 BOARD OF MANAGERS




 Petter Stensland




  Cody Richards




 Michael Land




 Matthew J. Telfer




 Jonathan J. Nash


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                     GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
                    METHODS, AND DISCLAIMERS REGARDING DEBTORS’
                         SCHEDULES OF ASSETS AND LIABILITIES
                        AND STATEMENTS OF FINANCIAL AFFAIRS

              The debtors and debtors in possession in the above-captioned chapter 11 cases
      (collectively, the “Debtors”) 1, with the assistance of their advisors, have filed their respective
      Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the
      “Statements,” and together with the Schedules, the “Schedules and Statements”) with the United
      States Bankruptcy Court for the Western District of Texas, Austin Division (the “Bankruptcy
      Court”), pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”)
      Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules
      1007 and 1009 of the Local Rules of Bankruptcy Practice and Procedure of the United
      States Bankruptcy Court for the Western District of Texas (the “Local Rules”).

              The Debtors submit these Global Notes and Statement of Limitations, Methodology, and
      Disclaimer Regarding Debtors’ Schedules and Statements of Financial Affairs (the “Global
      Notes”), which pertain to, are incorporated by reference in, and comprise an integral part of all
      of the Debtors’ Schedules and Statements. The Global Notes should be referred to, considered,
      and reviewed in connection with any review of the Schedules and Statements.

              The Schedules and Statements do not purport to represent financial statements prepared
      in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
      nor are they intended to be fully reconciled with the financial statements of each Debtor (if such
      statements are prepared). Additionally, the Schedules and Statements contain unaudited
      information that is subject to further review and potential adjustment, and reflect the Debtors’
      reasonable best efforts to report the assets and liabilities of each Debtor on an unconsolidated
      basis.

               The Debtors and their agents, attorneys and financial advisors do not guarantee or warrant
      the accuracy or completeness of the data that is provided herein and shall not be liable for any
      loss or injury arising out of or caused in whole or in part by the acts, errors or omissions, whether
      negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
      communicating or delivering the information contained herein. While commercially reasonable
      efforts have been made to provide accurate and complete information herein, inadvertent errors
      or omissions may exist. The Debtors and their agents, attorneys and financial advisors expressly
      do not undertake any obligation to update, modify, revise or re-categorize the information
      provided herein, or to notify any third party should the information be updated, modified, revised
      or re-categorized. In no event shall the Debtors or their agents, attorneys and financial advisors
      be liable to any third party for any direct, indirect, incidental, consequential or special damages
  1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, includes: Eagle Valley Energy Partners, LLC (5181); Eagle Valley Development, LLC (0604); Eyrie
  Mineral Holdings, LP (7804); Eagle Valley Minerals, LLC (3790); and Eyrie Holdings, LLC (3103). The location of
  Debtor Eagle Valley Energy Partners, LLC’s principal place of business and the Debtors’ service address in these
  chapter 11 cases is 13413 Galleria Circle, #Q-100, Austin, TX 78738
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  (including, but not limited to, damages arising from the disallowance of a potential claim against
  the Debtors or damages to business reputation, lost business or lost profits), whether foreseeable
  or not and however caused, even if the Debtors or their agents, attorneys and financial advisors
  are advised of the possibility of such damages.

          Gary Barton, Chief Restructuring Officer, has signed each of the Schedules and
  Statements. Mr. Barton is an authorized signatory for each of the Debtors. In reviewing and
  signing the Schedules and Statements, Mr. Barton necessarily has relied upon the efforts,
  statements, and representations of various personnel involved in the Debtors’ businesses and
  their advisors as well as Debtors’ books and records. Mr. Barton has not (and could not have)
  personally verified the accuracy of each statement and representation contained in the Schedules
  and Statements, including statements and representations concerning amounts owed to creditors,
  classification of such amounts, and creditor addresses.

                  GLOBAL NOTES AND OVERVIEW OF METHODOLOGY

          Reservation of Rights. Reasonable efforts have been made to prepare and file complete
  and accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
  Debtors reserve all rights to amend or supplement the Schedules and Statements from time
  to time, in all respects, as may be necessary or appropriate, including, without limitation, the
  right to amend the Schedules and Statements with respect to claim (“Claim”) description,
  designation, or Debtor against which the Claim is asserted; dispute or otherwise assert offsets or
  defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
  priority, status or classification; subsequently designate any Claim as “disputed,” “contingent,”
  or “unliquidated;” or object to the extent, validity, enforceability, priority or avoidability of any
  Claim. Any failure to designate a Claim in the Schedules and Statements as “disputed,”
  “contingent,” or “unliquidated” does not constitute an admission by the Debtors that such Claim
  or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute
  an admission of liability by the Debtor against which the Claim is listed or against any of the
  Debtors. Furthermore, nothing contained in the Schedules and Statements shall constitute a
  waiver of rights with respect to the Debtors’ chapter 11 cases, including, without limitation,
  issues involving Claims, substantive consolidation, defenses, equitable subordination, and/or
  causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any other
  relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
  rights contained elsewhere in the Global Notes does not limit in any respect the general
  reservation of rights contained in this paragraph. Notwithstanding the foregoing, the Debtors
  shall not be required to update the Schedules and Statements.

         Description of Cases and “As of” Information Date. On (date) (the “Petition Date”),
  the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The
  Debtors are operating their businesses and managing their properties as debtors in possession
  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         The asset and liability information provided herein represents the asset and liability
  data of the Debtors as of October 31, 2022 except as otherwise noted.


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           To timely close the books and records of the Debtors as of October 31, 2022 the Debtors
  were required to make certain estimates and assumptions that affect the reported amounts
  of assets and liabilities, as well as reported revenues and expenses. Actual amounts could
  differ, including with respect to claims that have been satisfied or otherwise resolved since the
  October 31, 2022 (including with respect to payments authorized by the Bankruptcy Court),
  and the Debtors reserve all rights to amend the reported amounts of assets, liabilities,
  revenues and expenses to reflect changes in those estimates and assumptions.

          Amendment. Although reasonable efforts were made to file complete and accurate
  Schedules and Statements, inadvertent errors or omissions may exist. Thus, the Debtors reserve
  all rights, but shall not be required to, to amend or supplement their Schedules and Statements
  from time to time as may be necessary or appropriate.

          Basis of Presentation. For financial reporting purposes, the Debtors historically prepare
  consolidated financial statements. Unlike the consolidated financial statements, the Schedules
  and Statements, except where otherwise indicated, reflect the assets and liabilities of each Debtor
  on a nonconsolidated basis. Accordingly, the totals listed in the Schedules and Statements will
  likely differ, at times materially, from the consolidated financial reports prepared by the Debtors
  for financial reporting purposes or otherwise.

          To the extent that a Debtor shows more assets than liabilities, this is not an admission
  that the Debtor was solvent at the Petition Date or at any time prior to the Petition Date. Likewise,
  to the extent that a Debtor shows more liabilities than assets, this is not an admission that
  the Debtor was insolvent at the Petition Date or at any time prior to the Petition Date.

          Accounts Payable and Disbursement System. The Debtors utilize a cash management
  payable and disbursement system in their day-to-day operations, the effect of which, in part,
  is that certain accounts payable and or payment detail may not be readily available on a legal
  entity basis. Although reasonable efforts have been made to attribute open payable amounts to
  the correct legal entity, the Debtors reserve their right to modify or amend the Schedules and
  Statements to attribute such payable to a different legal entity, if appropriate. Payments made
  are listed by the entity making such payment, notwithstanding that certain of such payments
  may have been made on behalf of another entity.

          Intercompany Claims and Transfers. Receivables and payables among the Debtors in
  these cases (each an “Intercompany Receivable” or “Intercompany Payable”) are reported in the
  Schedules. To the extent that a Debtor owes an Intercompany Payable, it is reported on Schedule
  E/F as a claim of such Debtor. To the extent a Debtor has an Intercompany Receivable, it
  is reported on Schedule A/B as an asset of such Debtor. While the Debtors have used reasonable
  efforts to ensure that the proper intercompany balances are attributed to each legal entity, all
  rights to amend these items on the Schedules and Statements are reserved.

          Intercompany transfers can be characterized in many ways. The Debtors reserve all
  of their rights with respect to the intercompany balances listed in the Schedules and
  Statements, including, but not limited to, the appropriate characterization of such intercompany
  balances and the amounts of such balances, which are still being identified by the Debtors.
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         The Debtors have listed all Intercompany Payables as unsecured nonpriority claims
  on Schedule E/F for each applicable Debtor, but reserve their rights to later change the
  characterization, classification, categorization, or designation of such claims.

           Confidential or Sensitive Information. There may be instances in which certain
  information in the Schedules and Statements has been redacted intentionally due to the nature
  of an agreement between a Debtor and a third party, concerns about the confidential or
  commercially sensitive nature of certain information, or concerns for the privacy of an individual.
  Any redactions will be limited to only what is necessary to protect the Debtors or third party and
  Debtors will provide interested parties with sufficient information to discern the nature of the
  listing.

          Recharacterization. Notwithstanding the Debtors’ reasonable efforts to properly
  characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
  unexpired leases, and other items reported in the Schedules and Statements, the Debtors may
  nevertheless have improperly characterized, classified, categorized, designated, or omitted
  certain items due to the complexity and size of the Debtors’ businesses. Accordingly, the
  Debtors reserve all of their rights to re-characterize, reclassify, recategorize, redesignate, add,
  or delete items reported in the Schedules and Statements at a later time as is necessary or
  appropriate as additional information becomes available, including, without limitation, whether
  contracts or leases listed herein were deemed executory or unexpired as of the Petition Date
  and remain executory and unexpired post-petition.

          Current Market Value and Net Book Value. In many instances, current market
  valuations are neither maintained by nor readily ascertainable by the Debtors. It would be
  prohibitively expensive and unduly burdensome to obtain current market valuations of the
  Debtors’ property interests that are not maintained or readily ascertainable. Accordingly, unless
  otherwise indicated, the Schedules and Statements reflect the net book values rather than current
  market values and may not reflect the net realizable value. For this reason, amounts ultimately
  realized will vary, at sometimes materially, from net book value. Additionally, the amount of
  certain assets and liabilities may be “undetermined,” and/or “unknown” and, thus, ultimate assets
  and liabilities may differ materially from those stated in the Schedules and Statements. Given,
  among other things, the current market valuation of certain assets and the valuation and nature
  of certain liabilities, nothing in the Debtors’ Schedules and Statements shall be, or shall be
  deemed to be an admission that any Debtor was solvent or insolvent as of the Petition Date or
  that any creditor was secured or unsecured.

          Credits and Adjustments. The claims of individual creditors for, among other
  things, goods, products, services, or taxes are listed as the amounts entered on the Debtors’
  books and records and may not reflect credits, allowances, or other adjustments due from such
  creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
  allowances, and other adjustments, including the right to assert claims objections,
  recoupments, and/or setoffs with respect to the same.



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            Real Property and Personal Property–Leased. In the ordinary course of business,
   certain of the Debtors may enter into agreements titled as leases for property, minerals, or other
   real property interests and equipment from third-party lessors for use in the daily operation
   of their businesses. Any known pre-petition obligations of the Debtors pursuant to the same
   have been listed on Schedule E/F. The underlying lease agreements are listed on Schedule G, or,
   if the leases are in the nature of real property interests under applicable state law, on Schedule
   A/B. However, nothing in the Schedules and Statements is, or shall be construed to be, an
   admission as to the determination of the legal status of any lease (including whether any
   lease is a true lease, a financing arrangement or a real property interest), and the Debtors reserve
   all rights with respect to such issues.

           Liabilities. The Debtors have sought to allocate liabilities between the prepetition
   and postpetition periods based on the information and research conducted in connection with
   the preparation of the Schedules and Statements. As additional information becomes available
   and further research is conducted, the allocation of liabilities between the prepetition and post-
   petition periods may change. Accordingly, the Debtors reserve all of their rights to amend,
   supplement, or otherwise modify the Schedules and Statements as is necessary or appropriate.

          The liabilities listed on the Schedules do not reflect any analysis of Claims under section
  503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to dispute
  or challenge the validity of any asserted Claims under section 503(b)(9) of the Bankruptcy Code
  or the characterization of the structure of any such transaction or any document or instrument
  related to any creditor’s Claim.

            Excluded Assets and Liabilities. The Debtors may have excluded certain categories of
   unliquidated assets and liabilities from the Schedules and Statements, including, without
   limitation, certain accruals, goodwill, de minimis deposits, certain prepaid expenses, accrued
   liabilities, including, without limitation, tax accruals, and accrued accounts payable, and
   rejection damage Claims of counterparties to executory contracts and unexpired leases that may
   or may not be rejected. In addition, certain immaterial assets and liabilities may have been
   excluded.

          The Bankruptcy Court has authorized the Debtors to pay, in their discretion,
   certain outstanding Claims on a postpetition basis. Prepetition liabilities which have been
   paid postpetition or those which the Debtors plan to pay via this authorization may have
   been excluded from the Schedules and Statements.

           Insiders. For purposes of the Schedules and Statements, the Debtors defined “insiders”
   pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers; (c) persons
   in control of the Debtors; (d) relatives of the Debtors’ directors, officers or persons in control of
   the Debtors; and (e) debtor/non-debtor affiliates of the foregoing. Persons listed as “insiders”
   have been included for informational purposes only and by including them in the Schedules and
   Statements, does not constitute an admission that those persons are insiders for purposes of
   section 101(31) of the Bankruptcy Code. Moreover, the Debtors do not take any position with
   respect to: (a) any insider’s influence over the control of the Debtors; (b) the management
   responsibilities or functions of any such insider; (c) the decision making or corporate authority
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   of any such insider; or (d) whether the Debtors or any such insider could successfully argue that
   he or she is not an “insider” under applicable law or with respect to any theories of liability or
   for any other purpose.

         Executory Contracts and Unexpired Leases. Although the Debtors made diligent
  attempts to attribute executory contracts and unexpired leases to its rightful Debtor, in certain
  instances, the Debtors may have inadvertently failed to do so due to the complexity and size
  of the Debtors’ businesses. Accordingly, the Debtors reserve all of their rights with respect to
  the named parties of any and all executory contracts, including the right to amend Schedule G.

          Moreover, the Debtors may not set forth all executory contracts and unexpired leases as
  assets in the Schedules and Statements, even though these contracts and leases may have some
  value to the Debtors’ estates.

          Umbrella or Master Service Agreements. Contracts listed in the Schedules and
  Statements may be umbrella or master service agreements that cover relationships with some or
  all of the Debtors. Where relevant, such agreements have been listed in the Schedules and
  Statements only of the Debtor that signed the original umbrella or master agreement. These
  master service agreements may have been listed in Schedule G, but do not reflect any decision
  by the Debtor as to whether or not such agreements are executory in nature.

           Classification. Listing a: (i) Claim on Schedule D as “secured,” (ii) Claim on Schedule
  E as “priority,” (iii) Claim on Schedule F as “unsecured priority,” or (iv) contract or lease on
  Schedule G as “executory” or “unexpired,” does not constitute an admission by the Debtors
  of the legal rights of the claimant, or a waiver of the Debtors’ right to recharacterize or reclassify
  such claim or contract. In addition, the Debtors reserve all of their rights to recharacterize,
  reclassify, recategorize or redesignate Claims, assets, liabilities, executory contracts, unexpired
  leases and other items reported in the Schedules and Statements at a later time, as necessary or
  appropriate, as additional information becomes available.

          Causes of Action. Despite their best efforts to identify all known assets, the Debtors
  may not have set forth in the Schedules and Statements all of their filed or potential claims and
  causes of actions against, and potential recoveries from, third parties or the values of any such
  claims. The Debtors reserve all rights to assert any and all such claims and causes of action,
  whether or not listed in the Schedules and Statements, and nothing contained in these Global
  Notes, the Schedules or Statements shall constitute a waiver of any such claims or causes of
  action, or in any way prejudice or impair the assertion of such claims or causes of action.

           Claims Description. Any failure to designate a Claim on the Schedules as “disputed,”
  “contingent” and/or “unliquidated” does not constitute an admission by the Debtors that such
  amount is not “disputed,” “contingent” and/or “unliquidated.” The Debtors reserve their rights
  to: (i) dispute, or assert offsets or defenses to, any Claim reflected on the Schedules on any
  grounds, including, but not limited to, amount, liability, priority, status, description or
  classification, or (ii) amend the Schedules to add one or more of the above-referenced
  designations to any Claim.


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         Claim amounts that could not be readily quantified by the Debtors are scheduled as
  “undetermined”, “unknown” or “unliquidated.” The description of an amount as such is not
  intended to reflect upon the materiality of such amount.

          Guarantees and Other Secondary Liability Claims. The Debtors have used their
  reasonable efforts to locate and identify guarantees and other secondary liability claims
  (collectively, the “Guarantees”) in their executory contracts, unexpired leases, secured financing,
  debt instruments, and other such agreements. The Debtors’ review of their contracts in such
  regard is ongoing. Where such Guarantees have been identified, they have been included in the
  relevant Schedule for the Debtor or Debtors affected by such Guarantees. The Debtors have
  placed Guarantee obligations on Schedule H for both the primary obligor and the guarantor
  of the relevant obligation. Such Guarantees were additionally placed on Schedule D or
  Schedule E/F, as appropriate, for each guarantor, except to the extent that such Guarantee is
  associated with obligations under an executory contract or unexpired lease identified on
  Schedule G. Further, certain Guarantees embedded in the Debtors’ executory contracts,
  unexpired leases, secured financings, debt instruments, and other such agreements may have
  been inadvertently omitted. Thus, the Debtors reserve their rights to amend the Schedules to the
  extent that additional Guarantees are identified. In addition, the Debtors reserve the right, but
  shall not be required, to amend the Schedules and Statements to recharacterize or reclassify any
  such contract, lease, claim, or Guarantee.

         Totals. All totals that are included in the Schedules represent totals of all known amounts
  included in the Debtors’ books and records. To the extent that there are undetermined or
  unknown amounts, and to the extent that the Debtors made post-petition payments on prepetition
  claims pursuant to the First Day Orders or other order of the Bankruptcy Court, the actual total
  may be different from the listed total.

         Undetermined Amounts. The description of an amount as “unknown,” “TBD,” or
  “undetermined” is not intended to reflect upon the materiality of such amount.

          Intercompany Transactions. In the ordinary course of business, the Debtors engage
  in routine business relationships with each other (the “Intercompany Transactions”) resulting in
  intercompany receivables and payables (the “Intercompany Claims”), which are described more
  fully in the Debtors’ first day cash management motion. Any intercompany receivables or
  payables that would result from such activity are included on Schedule B as an asset or on
  Schedule F as a liability. The Statements in Part 2 (Transfers) do not address those transactions
  which are reflected as book entries in Debtors’ financials.

         Setoffs. The Debtors periodically incur certain setoffs or recoupments in the ordinary
  course of business. Setoffs and recoupments in the ordinary course can result from various
  items including, but not limited to, transportation and marketing costs, intercompany
  transactions, pricing discrepancies, returns, warranties, refunds, negotiations and/or disputes
  between Debtors and their customers regarding regulatory or governmental impositions costs
  incurred by Debtors, and other disputes or agreements between the Debtors and their customers
  and/or suppliers. These normal setoffs are consistent with the ordinary course of business in the
  Debtors’ industry and can be particularly voluminous, making it unduly burdensome and costly
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   for the Debtors to list such ordinary course setoffs. Therefore, although such setoffs and other
   similar rights may have been accounted for when scheduling certain amounts, these ordinary
   course setoffs are not independently accounted for, and as such, are or may be excluded from
   the Debtors’ Schedules and Statements.

           Specific Notes. These Global Notes are in addition to the specific notes set forth below.
   The fact that the Debtors have prepared a Global Note with respect to a particular Schedule or
   Statement and not as to others does not reflect and should not be interpreted as a decision by the
   Debtors to exclude the applicability of such Global Note to any or all of the Debtors' remaining
   Schedules or Statements, as appropriate. Disclosure of information in one Schedule, one
   Statement, or an exhibit or attachment to a Schedule or Statement, even if incorrectly placed,
   shall be deemed to be disclosed in the correct Schedule, Statement, exhibit, or attachment.

           Intellectual Property Rights. Exclusion of certain intellectual property shall not be
   construed to be an admission that such intellectual property rights have been abandoned, have
   been terminated, or otherwise have expired by their terms, or have been assigned or otherwise
   transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
   intellectual property shall not be construed to be an admission that such intellectual property
   rights have not been abandoned, have not been terminated, or otherwise have not expired by their
   terms, or have not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
   transaction. Accordingly, the Debtors reserve all of their rights with respect to the legal status
   of any and all intellectual property rights.

          Fiscal Year. Each Debtor’s fiscal year ends on December 31, 2022.

          Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

       SPECIFIC DISCLOSURES WITH RESPECT TO THE DEBTORS’ SCHEDULES

          Schedule A/B: Assets – Real and Personal Property.

         Personal Property. Personal property owned by any of the Debtors is listed in the
   Schedule A/B for that individual Debtor.


         Part 1: Cash and cash equivalents. The cash values held in the financial accounts listed
  on Schedule A/B are all as of January 13, 2023.

          Part 2: Deposits and Prepayments. The Debtors maintain certain insurance policies and
  other prepaid related expenses. The Debtors have identified the related prepaid amounts for these
  matters.

          Part 3: Accounts Receivable. The account receivable balances for Joint Interest Billings,
  Joint Interest Billings Gross, Joint Interest Billings Clearing and Joint Interest Billings Cash
  Calls, have all been reflected as one entry and netted against each other.


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          Part 8: Machinery, equipment, and vehicles. There may be certain machinery and
  equipment assets for which the value is included in Part 9: Real Property or certain assets with
  a net book value of zero which are not set forth on in Part 8: Machinery, equipment, and vehicles.

          Part 9: Real Property. The Debtors interest in certain oil and gas wells, a salt water
  disposal well, mineral rights, overriding royalty interests as well as active term leases and leases
  held by production are reflected on Part 9. Note that the Debtors only own the percentage of
  lease as reflected in the county that the lease was recorded. The Debtors have not made any
  determination as to the percentage ownership reflected in these schedules.

          Part 10: Intangibles and intellectual property. The Debtors own certain URLs and other
  intellectual property that have little to no cash value and may not have included all of them in
  their response to Schedule A/B.

         Part 11: All other assets, Item 72. The Debtors are members of an affiliated group of
  corporations that file a consolidated U.S. federal income tax return.

           Schedule D – Creditors Holding Secured Claims. The values listed on Schedule D
  are all as of the petition date. Additionally, except as otherwise agreed pursuant to a stipulation
  and agreed order or general order entered by the Bankruptcy Court that is, or becomes, final,
  the Debtors reserve the right to dispute or challenge the validity, perfection, or immunity from
  avoidance of any lien purported to be granted or perfected in any specific asset to a creditor
  listed on Schedule D of any Debtor.

           The Debtors reserve all rights to dispute or challenge the secured nature of any such
  creditor’s claim or the characterization of the structure of any such transaction or any document
  or instrument (including, without limitation, any intercompany agreement) related to such
  creditor’s claim. In certain instances, a Debtor may be a co-obligor or guarantor with respect to
  scheduled claims of other Debtors, and no claim set forth on Schedule D of any Debtor
  is intended to acknowledge claims of creditors that are otherwise satisfied or discharged by other
  entities. The descriptions in Schedule D are intended to be only a summary. Reference to
  the applicable loan agreements and related documents and a determination of the creditors’
  compliance with applicable law is necessary for a complete description of the collateral and the
  nature, extent, and priority of any liens. Nothing in the Global Notes or the Schedules and
  Statements shall be deemed a modification or interpretation of the terms of such agreements or
  related documents.

         Real property lessors, utility companies, and other parties that may hold security deposits
  may not have been listed on Schedule D. The Debtors have not included on Schedule D parties
  that may believe their claims are secured through setoff rights; deposits posted by, or on
  behalf of, the Debtors; or inchoate statutory liens rights.

         Schedule E/F – Creditors Who Have Unsecured Claims. The values listed on Schedule
  E/F are as of the petition date or unknown.



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          Part 1: List All Creditors with Priority Unsecured Claims. Listing a claim on Schedule
  E/F as “unsecured priority” does not constitute an admission by the Debtors of the legal rights
  of the claimant. The Debtors hereby expressly reserve the right to assert that any claim listed
  on Schedule E does not constitute an unsecured priority claim under Bankruptcy Code section
  507 thereby constituting an unsecured nonpriority claim.

          The claims listed on Schedule E/F arose, or were incurred on, various dates and a
  determination of each date upon which each claim arose, or was incurred, would be unduly
  burdensome and cost prohibitive. Accordingly, not all such dates are included for each claim.
  All claims listed on Schedule E/F, however, appear to have arisen, or to have been incurred, on
  or before the Petition Date.

          Part 2: List All Creditors with Nonpriority Unsecured Claims. Pursuant to certain First
  Day Orders, the Bankruptcy Court has authorized the Debtors to pay certain outstanding
  prepetition claims, such as interest holder claims and severance claims. Although not all
  claims previously paid pursuant to a First Day Order will be listed in the Schedules and
  Statements, certain of these claims that have been paid may appear in the Schedules and
  Statements. Regardless of whether such claims are listed in the Schedules and Statements, to
  the extent that such claims are paid pursuant to an order of the Bankruptcy Court (including
  the First Day Orders), the Debtors reserve all rights to amend or supplement their Schedules
  and Statements as necessary and appropriate.

          Listing a claim on Schedule E/F as “unsecured nonpriority” does not constitute an
  admission by the Debtors of any legal rights of the claimant. The Debtors hereby expressly
  reserve the right to assert that any claim listed on Schedule E/F does not constitute an unsecured
  nonpriority claim (including the right to assert that any such claim constitutes a secured
  or priority claim). Additionally, noting that a claim on Schedule E/F is “subject to setoff” does
  not constitute an admission by the Debtor of the legal rights of the claimant. The Debtors
  hereby expressly reserve the right to assert that any claim listed on Schedule E/F is not subject
  to setoff or dispute any claim to such setoff.

          The Debtors have attempted to relate all liabilities to the applicable Debtor. However,
  due to the related nature of the Debtors’ businesses, debts of one Debtor may be inadvertently
  listed on the Schedules of another. Readers of the Schedules should review all of the Debtors’
  Schedules for a complete understanding of the unsecured debts of the Debtors.

          The Debtors may have certain rights of setoff and/or recoupment with respect to
  the claims set forth on Schedule E/F. Likewise, creditors may assert similar rights and
  Debtors reserve all rights to challenge such setoff and/or recoupment rights asserted.
  Additionally, certain creditors may assert mechanic’s, materialman’s, or other similar liens
  against the Debtors for amounts listed on Schedule E/F. The Debtors reserve their right to dispute
  or challenge the validity, perfection, or immunity from avoidance of any lien purported to be
  perfected by a creditor listed on Schedule E/F.

         Schedule E/F does not include certain deferred charges, deferred liabilities, accruals, or
  general reserves. Such amounts are, however, reflected on the Debtors’ books and records as
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  required in accordance with GAAP. Such accruals are general estimates of liabilities and do not
  represent specific claims as of the Petition Date.

          The claims listed on Schedule E/F arose, or were incurred, on various dates, and a
  determination of each date upon which each claim arose, or was incurred, would be unduly
  burdensome and cost prohibitive. Accordingly, not all such dates are included for each claim.
  All claims listed on Schedule E/F, however, appear to have arisen, or to have been incurred,
  prior to the Petition Date.

          Schedule G – Executory Contracts and Unexpired Leases. Although reasonable
  efforts have been made to ensure the accuracy of Schedule G regarding executory contracts and
  unexpired leases, the Debtors’ review is ongoing, and inadvertent errors, omissions, or over-
  inclusion may have occurred.

         Any and all of the Debtors’ rights, claims, and causes of action with respect to the
  contracts, agreements, and leases listed on Schedule G are hereby reserved and preserved. The
  Debtors hereby reserve all of their rights to dispute the validity, status, and enforceability of any
  contracts, agreements, or leases set forth on Schedule G and to amend or supplement such
  Schedule as necessary.

          The Debtors may have included certain interests in real or personal property and other
  interests on Schedule G. The placing of a contract or lease onto Schedule G shall not be deemed
  an admission that such contract is an executory contract or unexpired lease, or that it is
  necessarily a binding, valid, and enforceable contract. The Debtors hereby expressly reserve the
  right to assert that any agreement listed on Schedule G does not constitute an executory
  contract within the meaning of Bankruptcy Code section 365.

          The Debtors may have entered into various other types of agreements in the ordinary
  course of their business, such as surety bond agreements, letters of credit, indemnity agreements,
  supplemental agreements, amendments/letter agreements, and confidentiality agreements. Such
  documents may not be set forth in Schedule G. Moreover, the contracts, agreements, and leases
  listed on Schedule G may have expired or may have been modified, amended, or supplemented
  from time to time by various amendments, restatements, waivers, estoppels, certificates, letters
  or other documents, instruments, and agreements that may not be listed on Schedule G.
  Portions of some contracts and leases that are listed on Schedule G may have been fully
  performed, while other portions of the same contracts and leases may remain executory or
  unexpired.

          Certain of the contracts, agreements, and leases listed on Schedule G may contain
  renewal options, guarantees of payments, options to purchase, rights of first refusal, rights
  to lease additional space, and other miscellaneous rights. Such rights, powers, duties, and
  obligations may not be set forth on Schedule G.

         Certain of the agreements listed on Schedule G may be in the nature of conditional sales
  agreements or secured financings. The presence of these agreements or any other agreements
  on Schedule G does not constitute an admission that any such agreement is an executory contract
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  or unexpired lease.

         The Debtors reserve all of their rights, claims, and causes of action with respect to
  the contracts and agreements listed on Schedule G, including the right to dispute or challenge
  the characterization or the structure of any transaction, document, or instrument. Certain
  executory agreements may not have been memorialized in writing and could be subject to dispute.
  Generally, executory agreements that are oral in nature have not been included in the Schedule.
  Further, the Debtors may be parties to various other agreements concerning real property, such
  as easements, rights of way, subordination, non-disturbance, supplemental agreements,
  amendments/letter agreements, title documents, consents, site plans, maps, and other
  miscellaneous agreements. Such agreements, if any, may not be set forth in Schedule G.

           The Debtors have attempted to list the appropriate Debtor parties to each contract,
  agreement, and lease on Schedule G. However, there may be instances in which other Debtor
  entities that are not parties to the contracts, agreements, and leases have been the primary entities
  conducting business in connection with these contracts, agreements, and leases. Accordingly, the
  Debtors have listed certain contracts, agreements, and leases on Schedule G of the Debtor entity
  corresponding to the applicable contracting entity, which may, upon further review, differ from
  the primary entity conducting business with the counterparty to that particular contract,
  agreement, or lease. Additionally, certain of the contracts, agreements, and leases listed on
  Schedule G may have been entered into by more than one of the Debtors.

          Schedule H: Your Codebtors. Although the Debtors have made every effort to ensure
  the accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred. The
  Debtors hereby reserve all rights to dispute the validity, status, and enforceability of any
  obligations set forth on Schedule H and to further amend or supplement such Schedule as
  necessary.

          The Debtors further reserve all rights, claims, and causes of action with respect to
  the obligations listed on Schedule H, including the right to dispute or challenge the
  characterization or the structure of any transaction, document, or instrument related to a
  creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H shall
  not be deemed an admission that such obligation is binding, valid, or enforceable.

           In the ordinary course of their business, the Debtors are involved in pending or threatened
  litigation and claims arising out of the conduct of their business. These matters may involve
  multiple plaintiffs and defendants, some or all of whom may assert cross-claims and counter-
  claims against other parties. Because such claims are listed elsewhere in the Statements and
  Schedules, they have not been set forth individually on Schedule H.

          Schedule H also reflects guarantees by various Debtors. The Debtors may not have
  identified certain guarantees that are embedded in the Debtors’ executory contracts, unexpired
  leases, secured financings, debt instruments, and other such agreements. Thus, the Debtors
  reserve their right, but shall not be required, to amend the Schedules to the extent that additional
  guarantees are identified or such guarantees are discovered to have expired or are unenforceable.

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         SPECIFIC DISCLOSURES RELATED TO THE DEBTORS’ STATEMENTS

           Part 2: Questions 3 & 4. These disbursements were made from the bank account of
  the relevant Debtors. The disbursements provided herein represent data as of January 13, 2023.
  It is possible that some of those disbursements may have been for the benefit of the other Debtors
  and appropriate Intercompany Transactions may have been recorded in the Debtors’ books and
  records reflecting such transactions.
           All amounts that remain outstanding to any creditor listed on Part 2: Questions 3 & 4
  are reflected on Schedules D, E, and F, as applicable. Any creditor wishing to verify any
  outstanding indebtedness should review those schedules.

         Certain intercompany transactions may be accounted for through transfers of cash to and
  from appropriate bank accounts in and out of the Debtors’ cash management system after certain
  adjustments are made to intercompany accounts receivable and accounts payable among the
  Debtors. These payments and transactions have not been listed. However, readers of the
  Schedules and Statements wishing to verify any outstanding Intercompany Payables and
  Intercompany Receivables should refer to Schedule A/B and Schedule E/F, as applicable.

          The listing of a party as an “insider” throughout the Statement and Schedules is not
  intended to be, nor shall be, construed as a legal characterization or determination of such party
  as an actual insider and does not act as an admission of any fact, claim right, or defense, and all
  such rights, claims and defenses are hereby expressly reserved.

          The Debtors’ response includes payments made to such creditors who are or were insiders
  only to the extent that such payments were made during the time in which the creditor was an
  insider and only in that creditor’s capacity as an insider.

          Part 2: Question 6. The Debtors routinely incur setoffs and netting of payments during
  the ordinary course of their business. Setoffs and nettings in the ordinary course can result from
  various items including transportation and marketing costs, intercompany transactions,
  counterparty settlements, pricing discrepancies, rebates, returns, warranties, and other
  transaction true-ups. These normal setoffs and nettings are consistent with the ordinary course
  of business in the Debtors’ industry and can be particularly voluminous, making it unduly
  burdensome and costly for the Debtors to list all normal set-offs. Therefore, normal setoffs
  and nettings are excluded from the Debtors’ responses.




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Fill in this information to identify the case:

Debtor name         Eagle Valley Energy Partners, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 27, 2023                X /s/ Gary Barton
                                                           Signature of individual signing on behalf of debtor

                                                            Gary Barton
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name Eagle Valley Energy Partners, LLC
United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                                                       Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Fractal Resources,                                  Trade debt                Contingent                                                                      $210,000.00
LLC                                                                           Unliquidated
419 W 34th Street                                                             Disputed
Houston, TX 77018
Internal Revenue                                    Taxes                     Contingent                                                                                $0.00
Service                                                                       Unliquidated
Centralized                                                                   Disputed
Insolvency
Operations
P.O. Box 7346
Philadelphia, PA
19101
TCEQ                                                Trade debt                Contingent                                                                                $0.00
Attn: BKCY Division                                                           Unliquidated
P.O. Box 13087                                                                Disputed
Austin, TX 78711
Texas Comptroller                                   Taxes                     Contingent                                                                                $0.00
of Public Accounts                                                            Unliquidated
Revenue                                                                       Disputed
Accounting Div- BK
Section
P.O. Box 12548,
MC-008
Austin, TX 78711
Texas Railroad                                      Trade debt                Contingent                                                                                $0.00
Commission                                                                    Unliquidated
Enforcement                                                                   Disputed
Division
Office of General
Counsel
P.O. Box 12967
Austin, TX 78711




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Eagle Valley Energy Partners, LLC                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Texas Workforce                                     Taxes                     Contingent                                                                         Unknown
Commission                                                                    Unliquidated
TWC Building -                                                                Disputed
Regulatory Integrity
Div.
101 East 15th Street
Austin, TX 78778




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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                                                89
 Fill in this information to identify the case:

 Debtor name            Eagle Valley Energy Partners, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       1,189,566.60

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       1,189,566.60


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         830,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         518,275.40


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          1,348,275.40




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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Fill in this information to identify the case:

Debtor name          Eagle Valley Energy Partners, LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     US Bank                                           Money Market Account                  7000                                 $177,227.93



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $177,227.93
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Insurance Payment                                                                                                             $18,793.42




           8.2.     Bank Facility Fees                                                                                                            $10,000.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                     page 1
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Debtor         Eagle Valley Energy Partners, LLC                                           Case number (If known)
               Name




9.         Total of Part 2.                                                                                                       $28,793.42
           Add lines 7 through 8. Copy the total to line 81.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:               54,479,470.33        -                       54,479,470.33 = ....                        $0.00
                                        face amount                          doubtful or uncollectible accounts



           11a. 90 days old or less:               23,957,244.18        -                       23,957,244.18 = ....                        $0.00
                                        face amount                          doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                              $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:        Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.
                                                                                                    Valuation method used   Current value of
                                                                                                    for current value       debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.   Eagle Valley Minerals, LLC                                   100         %                                          Unknown




           15.2.   Eyrie Holdings, LLC                                          100         %                                          Unknown




           15.3.   Eagle Valley Development, LLC                                100         %                                          Unknown




           15.4.   Eyrie Mineral Holdings, LP                                   99          %                                          Unknown



16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                     page 2
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Debtor       Eagle Valley Energy Partners, LLC                                              Case number (If known)
             Name


17.       Total of Part 4.                                                                                                               $0.00
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.   Go to Part 6.
    Yes Fill in the information below.

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.   Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Conference Table Chairs                                                   Unknown                                            Unknown


          Kitchen Chairs                                                            Unknown                                            Unknown



40.       Office fixtures
          Occasional Table                                                          Unknown                                            Unknown


          Mirrors                                                                    Unknown                                           Unknown


          Conference Table                                                          Unknown                                            Unknown


          Refrigerator                                                               Unknown                                           Unknown


          Dishwasher                                                                Unknown                                            Unknown


          Icemaker                                                                  Unknown                                            Unknown


          Kitchen Table                                                             Unknown                                            Unknown



41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                       page 3
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Debtor       Eagle Valley Energy Partners, LLC                                        Case number (If known)
             Name



43.       Total of Part 7.                                                                                                                 $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.   Go to Part 9.
    Yes Fill in the information below.

Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of       Valuation method used     Current value of
          property                              extent of            debtor's interest       for current value         debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Lake Somerville
                  51-83-50, CAROL
                  ANN STERN
                  CHRISTIAN, 1219
                  WOOD HAVEN CT,
                  SUGARLAND, TX,
                  77479, Lease Exp:
                  3/4/2023, Net Acres:          Active Oil and
                  0.17150000                    Gas Lease                      Unknown                                             Unknown


          55.2.   Lake Somerville
                  51-83-55, JERRY W.
                  BERTRAND AND
                  WIFE, LYNETTE
                  BERTRAND, 356
                  WEST COUNTY
                  ROAD 3069,
                  LAMPASAS, TX,
                  76550, Lease
                  Expires: 3/4/2023, Net
                  Lease Acres:                  Active Oil and
                  0.32600000                    Gas Lease                      Unknown                                             Unknown




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 4
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Debtor      Eagle Valley Energy Partners, LLC                              Case number (If known)
            Name

         55.3.   Lake Somerville
                 51-83-56, KENNETH
                 M. CRUIKSHANK,
                 JR., 1137 APACHE
                 TEARS, HORSESHOE
                 BAY, TX, 78657,
                 Lease Expires:
                 3/4/2023, Net Lease      Active Oil and
                 Acres: 0.35000000        Gas Lease                  Unknown                        Unknown


         55.4.   Lake Somerville
                 51-83-60, 51-83-61,
                 MANTON P.
                 STEWART, JR., PO
                 BOX 1081,
                 ANAHAUC, TX,
                 77514, Lease
                 Expires: 3/4/2023, Net
                 Lease Acres:             Active Oil and
                 0.42700000               Gas Lease                  Unknown                        Unknown


         55.5.   Lake Somerville
                 51-83-60, 51-83-61,
                 SHERWOOD E.
                 STEWART, 51
                 TAPESTRY FOREST
                 PLACE, THE
                 WOODLANDS, TX,
                 77381, Lease
                 Expires: 3/4/2023, Net
                 Lease Acres:             Active Oil and
                 0.42700000               Gas Lease                  Unknown                        Unknown


         55.6.   Lake Somerville
                 51-83-61, JULIA
                 STEWART, 6515
                 SJOLANDER RD.,
                 BAYTOWN, TX,
                 77521, Lease
                 Expires: 3/4/2023, Net
                 Lease Acres:             Active Oil and
                 0.56350000               Gas Lease                  Unknown                        Unknown


         55.7.   Lake Somerville
                 51-83-61, RICHARD
                 E. STEWART, 6515
                 SJOLANDER RD.,
                 BAYTOWN, TX,
                 77521, Lease
                 Expires: 3/4/2023, Net
                 Lease Acres:             Active Oil and
                 0.56350000               Gas Lease                  Unknown                        Unknown




Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property          page 5
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Debtor      Eagle Valley Energy Partners, LLC                              Case number (If known)
            Name

         55.8.   Lake Somerville
                 51-83-72, LISA
                 STIFFLEMIRE, P.O.
                 BOX 1401,
                 CHANNELVIEW, TX,
                 77530, Lease
                 Expires: 3/4/2023, Net
                 Lease Acres:             Active Oil and
                 0.12366667               Gas Lease                  Unknown                        Unknown


         55.9.   Lake Somerville
                 51-83-72, MICHELLE
                 STIFFLEMIRE, P.O.
                 BOX 331,
                 SOMERVILLE, TX,
                 77879, Lease
                 Expires: 3/4/2023, Net
                 Lease Acres:             Active Oil and
                 0.12366667               Gas Lease                  Unknown                        Unknown


         55.10 Lake Somerville
         .     51-83-72, SANDRA
                 STIFFLEMIRE, P.O.
                 BOX 9493, COLLEGE
                 STATION, TX, 77842,
                 Lease Expires:
                 3/4/2023, Net Lease      Active Oil and
                 Acres: 0.12366667        Gas Lease                  Unknown                        Unknown


         55.11 Lake Somerville
         .     51-83-90, GLEN R.
                 KIRKHAM AND WIFE,
                 SHARON R.
                 KIRKHAM, 114 N.
                 SANTA CLARA
                 DRIVE, ROCKPORT,
                 TX, 78382, Lease
                 Expires: 3/4/2023, Net
                 Lease Acres:             Active Oil and
                 0.39300000               Gas Lease                  Unknown                        Unknown


         55.12 Lake Somerville
         .     51-83-91, 51-83-95,
                 BETTY J. MAYO, 214
                 N. YAUPON DRIVE,
                 SOMERVILLE, TX,
                 77879, Lease
                 Expires: 3/4/2023, Net
                 Lease Acres:             Active Oil and
                 0.59800000               Gas Lease                  Unknown                        Unknown




Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property          page 6
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Debtor      Eagle Valley Energy Partners, LLC                           Case number (If known)
            Name

         55.13 Lake Somerville
         .     51-83-50, RONALD
               HENRY STERN, 2319
               ROBINHOOD,
               HOUSTON, TX,
               77005, Lease
               Expires: 5/29/2023,
               Net Lease Acres:        Active Oil and
               0.17150000              Gas Lease                  Unknown                        Unknown


         55.14 Carr-Walker 01-039,
         .     A.K. EUGSTER AND
               KATHE EUGSTER,
               3450 S. OCEAN BLVD
               APT 316, PALM
               BEACH, FL, 33480,
               Lease Expires:
               3/14/2024, Net Lease    Active Oil and
               Acres: 2.30000000       Gas Lease                  Unknown                        Unknown


         55.15 Carr-Walker 01-020,
         .     BARBARA ANN
               OWENS, 9931
               BUSSEY ROAD,
               SILSBEE, TX, 77656,
               Lease Expires:
               3/14/2024, Net Lease    Active Oil and
               Acres: 1.20500000       Gas Lease                  Unknown                        Unknown


         55.16 Carr-Walker 01-038,
         .     BELTRAND
               PROPERTIES LLC,
               ATTN: CLAIRE
               BELTRAND,
               PRESIDENT,
               COLLEGE STATION,
               TX, 77842, Lease
               Expires: 3/19/2024,
               Net Lease Acres:        Active Oil and
               0.49250000              Gas Lease                  Unknown                        Unknown


         55.17 Carr-Walker 01-020,
         .     BETTY JO POHL,
               5607 SPANISH OAK
               DRIVE, HOUSTON,
               TX, 77066, Lease
               Expires: 3/14/2024,
               Net Lease Acres:        Active Oil and
               1.20500000              Gas Lease                  Unknown                        Unknown




Official Form 206A/B                     Schedule A/B Assets - Real and Personal Property          page 7
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                                             89
Debtor      Eagle Valley Energy Partners, LLC                           Case number (If known)
            Name

         55.18 Carr-Walker 01-037,
         .     BRAZOS COUNTY
               FARM BUREAU, P.O.
               BOX 6568, BRYAN,
               TX, 77805, Lease
               Expires: 3/22/2024,
               Net Lease Acres:        Active Oil and
               0.50000000              Gas Lease                  Unknown                        Unknown


         55.19 Carr-Walker 02-017,
         .     DAVID LEE BEAL,
               122 E. GREEN
               GABLES CIRCLE,
               THE WOODLANDS,
               TX, 77382, Lease
               Expires: 7/24/2024,
               Net Lease Acres:        Active Oil and
               1.30500000              Gas Lease                  Unknown                        Unknown


         55.20 Carr-Walker 02-017,
         .     GRACE N. BEAL, 11
               RANCHERO ROAD,
               COLLEGE STATION,
               TX, 77845, Lease
               Expires: 7/24/2024,
               Net Lease Acres:        Active Oil and
               2.61000000              Gas Lease                  Unknown                        Unknown


         55.21 Carr-Walker 01-036,
         .     JAMES A.
               FERGUSON AND
               CONNIE J.
               FERGUSON, 14
               VISTA LANE,
               COLLEGE STATION,
               TX, 77845, Lease
               Expires: 3/26/2024,
               Net Lease Acres:        Active Oil and
               3.15000000              Gas Lease                  Unknown                        Unknown


         55.22 Carr-Walker 02-004,
         .     JAMES W. ALBERT
               AND SUNNY
               ALBERT, P.O. BOX
               1259, KATY, TX,
               77492, Lease
               Expires: 3/27/2024,
               Net Lease Acres:        Active Oil and
               4.82000000              Gas Lease                  Unknown                        Unknown




Official Form 206A/B                     Schedule A/B Assets - Real and Personal Property          page 8
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                                             89
Debtor      Eagle Valley Energy Partners, LLC                           Case number (If known)
            Name

         55.23 Carr-Walker 01-018,
         .     JANET KRUPA, 17
               VISTA LANE,
               COLLEGE STATION,
               TX, 77845, Lease
               Expires: 3/12/2024,
               Net Lease Acres:        Active Oil and
               2.48000000              Gas Lease                  Unknown                        Unknown


         55.24 Carr-Walker 01-019,
         .     JANIS LYNNE
               WILLIAMS, 18411
               199TH PLACE
               NORTHEAST,
               WOOBINVILLE, WA,
               98077, Lease
               Expires: 3/18/2024,
               Net Lease Acres:        Active Oil and
               2.44000000              Gas Lease                  Unknown                        Unknown


         55.25 Carr-Walker 02-017,
         .     STEPHEN N. BEAL,
               3809 RAVENWOOD
               DRIVE, BRYAN, TX,
               77802, Lease
               Expires: 7/24/2024,
               Net Lease Acres:        Active Oil and
               1.30500000              Gas Lease                  Unknown                        Unknown


         55.26 Carr-Walker 02-015,
         .     WARDEN FAMILY
               TRUST, 2311 KENT,
               BRYAN, TX, 77802,
               Lease Expires:
               4/1/2024, Net Lease     Active Oil and
               Acres: 3.52000000       Gas Lease                  Unknown                        Unknown


         55.27 Carr-Walker 02-016,
         .     WARDEN FAMILY
               TRUST, 2311 KENT,
               BRYAN, TX, 77802,
               Lease Expires:
               4/1/2024, Net Lease     Active Oil and
               Acres: 1.50000000       Gas Lease                  Unknown                        Unknown


         55.28 Carr-Walker 01-037,
         .     WELDON E.
               JORDAN, 10 VISTA
               LANE, COLLEGE
               STATION, TX, 77845,
               Lease Expires:
               3/14/2024, Net Lease    Active Oil and
               Acres: 0.50000000       Gas Lease                  Unknown                        Unknown




Official Form 206A/B                     Schedule A/B Assets - Real and Personal Property          page 9
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                                              89
Debtor        Eagle Valley Energy Partners, LLC                                            Case number (If known)
              Name

           55.29 Carr-Walker 01-038,
           .     WELDON E.
                   JORDAN, 10 VISTA
                   LANE, COLLEGE
                   STATION, TX, 77845,
                   Lease Expires:
                   3/14/2024, Net Lease            Active Oil and
                   Acres: 0.49250000               Gas Lease                       Unknown                                     Unknown


           55.30 Carr-Walker 01-041,
           .     WELDON E.
                   JORDAN, 10 VISTA
                   LANE, COLLEGE
                   STATION, TX, 77845,
                   Lease Expires:                  Active Oil and
                   3/14/2024, 2.63000000           Gas Lease                       Unknown                                     Unknown


           55.31 White Spot 14-079,
           .     Sylvia Rekoff, 16
                   Quintana,
                   GALVESTON, TX,
                   77554, Lease
                   Expires: 7/17/2023,
                   Net Lease Acres:                Active Oil and
                   12.94214286                     Gas Lease                       Unknown                                     Unknown




56.        Total of Part 9.                                                                                                       $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.    Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.        Notes receivable
           Description (include name of obligor)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                              page 10
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Debtor      Eagle Valley Energy Partners, LLC                                         Case number (If known)
            Name

         DW Energy, 104 Decker Ct, Suite 300,                        843,545.25 -                                  0.00 =
         Irving, TX 75062.2757                                 Total face amount    doubtful or uncollectible amount         $843,545.25



72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities
         General Liability Insurance-Axis Insurance, 10000
         Avalon Blvd., Suite 200, Alpharetta, GA 30009                                                                         Unknown


         Directors & Officers Liability Insurance-Axis Insurance,
         10000 Avalon Blvd., Suite 200, Alpharetta, GA 30009                                                                   Unknown


         Commercial Automobile Insurance-Travelers Insurace,
         One Tower Square, Hartford, CT 06183                                                                                  Unknown


         Commerical General and Property Liability
         Insurance-Travelers Insurace, One Tower Square,
         Hartford, CT 06183                                                                                                    Unknown


         Umbrella Insurance-Travelers Insurace, One Tower
         Square, Hartford, CT 06183                                                                                            Unknown


         Control of Well Insurance-Travelers Insurace, One
         Tower Square, Hartford, CT 06183                                                                                      Unknown


         Excess Liability Insurance -Evanstan Insurance
         Company, 10275 West Higgins Road, Suite 750,
         Rosemont, IL 60018                                                                                                    Unknown


         General Liability Premium Audit - Laird Insurance
         Agency, 2700 Stone Road, Kilgore, TX 75663                                                                            Unknown



74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Equity Contribution owed by Eagle Valley Energy, LLC
         Value of Equity Contribution is approximate                                                                         $140,000.00




78.      Total of Part 11.                                                                                                  $983,545.25
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                page 11
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                                             89
Debtor     Eagle Valley Energy Partners, LLC                           Case number (If known)
           Name


          Yes




Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property        page 12
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                                               89
Debtor          Eagle Valley Energy Partners, LLC                                                                   Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $177,227.93

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $28,793.42

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $983,545.25

91. Total. Add lines 80 through 90 for each column                                                         $1,189,566.60            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,189,566.60




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 13
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                                                89
Fill in this information to identify the case:

Debtor name          Eagle Valley Energy Partners, LLC

United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    AB Eagle Holdings, LLC                       Describe debtor's property that is subject to a lien                 $830,000.00              $830,000.00
       Creditor's Name                              Lien on all Assets
       1345 Avenue of the
       Americas
       New York, NY 10105
       Creditor's mailing address                   Describe the lien
                                                    Non-Purchase Money Security
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known              Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.         $830,000.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 1
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                                                89
Fill in this information to identify the case:

Debtor name        Eagle Valley Energy Partners, LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          $0.00
          Internal Revenue Service                            Check all that apply.
          Centralized Insolvency Operations                    Contingent
          P.O. Box 7346                                        Unliquidated
          Philadelphia, PA 19101
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          $0.00
          Texas Comptroller of Public                         Check all that apply.
          Accounts                                             Contingent
          Revenue Accounting Div- BK                           Unliquidated
          Section
          P.O. Box 12548, MC-008                               Disputed
          Austin, TX 78711
          Date or dates debt was incurred                     Basis for the claim:
                                                              Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 3
                                                                                                              20580
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                                               89
Debtor       Eagle Valley Energy Partners, LLC                                                          Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   Unknown
          Texas Workforce Commission                           Check all that apply.
          TWC Building - Regulatory                             Contingent
          Integrity Div.                                        Unliquidated
          101 East 15th Street
          Austin, TX 78778                                      Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $254,397.43
          AB Energy Opportunity Fund                                          Contingent
          501 Commerce Street                                                 Unliquidated
          Nashville, TN 37203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Trade Payable 2021/2022
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $53,877.97
          AB Energy Opportunity Fund                                          Contingent
          501 Commerce Street                                                 Unliquidated
          Nashville, TN 37203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Trade Payable 2020
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $210,000.00
          Fractal Resources, LLC                                              Contingent
          419 W 34th Street
          Houston, TX 77018
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:     Trade debt
                                                                             Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          TCEQ                                                                Contingent
          Attn: BKCY Division
          P.O. Box 13087
                                                                              Unliquidated
          Austin, TX 78711                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:     Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Texas Railroad Commission
          Enforcement Division                                                Contingent
          Office of General Counsel                                           Unliquidated
          P.O. Box 12967                                                      Disputed
          Austin, TX 78711
                                                                             Basis for the claim:     Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 3
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Debtor      Eagle Valley Energy Partners, LLC                                                      Case number (if known)
            Name



Part 3:     List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                           0.00
5b. Total claims from Part 2                                                                         5b.   +   $                     518,275.40

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                        518,275.40




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
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                                                89
Fill in this information to identify the case:

Debtor name        Eagle Valley Energy Partners, LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Security Agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    AB Eagle Holdings, LLC
             List the contract number of any                                        1345 Avenue of the Americas
                   government contract                                              New York, NY 10105


2.2.         State what the contract or           Litigation Agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            Akin Gump Strauss Hauer & Feld LLP
                                                                                    1111 Louisiana St
             List the contract number of any                                        44th Floor
                   government contract                                              Houston, TX 77002


2.3.         State what the contract or           Acquisition and
             lease is for and the nature of       Development
             the debtor's interest                Agreement

                State the term remaining
                                                                                    Border to Border #1, LP
             List the contract number of any                                        3698 RR 620 South, Ste. 113
                   government contract                                              Austin, TX 78738


2.4.         State what the contract or           Deja Vu Prospect
             lease is for and the nature of       Development
             the debtor's interest                Agreement

                State the term remaining
                                                                                    Border to Border #1, LP
             List the contract number of any                                        3698 RR 620 South, Ste. 113
                   government contract                                              Austin, TX 78738




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 8
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                                               89
Debtor 1 Eagle Valley Energy Partners, LLC                                       Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        Border to Border Exploration, LLC
          List the contract number of any                               3698 RANCH ROAD 620 S, STE 113
                government contract                                     Austin, TX 78738


2.6.      State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        Border to Border Exploration, LLC
          List the contract number of any                               3698 RANCH ROAD 620 S, STE 113
                government contract                                     Austin, TX 78738


2.7.      State what the contract or        Transfer of interests
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Brazos Valley Exploration, LP
          List the contract number of any                               3698 RR 620 S, Ste. 113
                government contract                                     Austin, TX 78738


2.8.      State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        BTE ENERGY LLC
          List the contract number of any                               3001 RR 620 S, Ste. 321
                government contract                                     AUSTIN, TX 78738-6887


2.9.      State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        BTE ENERGY LLC
          List the contract number of any                               3001 RR 620 S, Ste. 321
                government contract                                     AUSTIN, TX 78738-6887




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Debtor 1 Eagle Valley Energy Partners, LLC                                       Case number (if known)
          First Name         Middle Name          Last Name



          Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Premium Finance
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                   CAA Premium Financing Funding LLC
                                                                        6805 N Capital of Texas Hwy
          List the contract number of any                               Suite 320
                government contract                                     Austin, TX 78731


2.11.     State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        Chandraco, LP
          List the contract number of any                               1841 Broken Bend Drive
                government contract                                     Westlake, TX 76262


2.12.     State what the contract or        Grant of Easement and
          lease is for and the nature of    Right of Way Contract
          the debtor's interest

             State the term remaining
                                                                        Crown Pine Timber 1, LP
          List the contract number of any                               702 N TEMPLE DRIVE
                government contract                                     DIBOLL, TX 75941


2.13.     State what the contract or        Oil and Gas Software
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                   Drilling Info, Inc. (Enverus)
                                                                        2901 Viua Fortuna
          List the contract number of any                               Building 6, Suite 200
                government contract                                     Austin, TX 78746


2.14.     State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        DW Energy Group, LLC
          List the contract number of any                               104 DECKER CT, STE 300
                government contract                                     Irving, TX 75062-2757




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Debtor 1 Eagle Valley Energy Partners, LLC                                       Case number (if known)
          First Name         Middle Name          Last Name



          Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        DW Energy Group, LLC
          List the contract number of any                               104 DECKER CT, STE 300
                government contract                                     Irving, TX 75062-2757


2.16.     State what the contract or        Settlement Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        DW Energy Group, LLC
          List the contract number of any                               104 DECKER CT, STE 300
                government contract                                     Irving, TX 75062-2757


2.17.     State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining                                   Eagle Valley Operating, LLC
                                                                        13413 Galleria Circle,
          List the contract number of any                               Building Q, Suite 100
                government contract                                     Austin, TX 78738


2.18.     State what the contract or        Management Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                   Eagle Valley Operating, LLC
                                                                        13413 Galleria Circle,
          List the contract number of any                               Building Q, Suite 100
                government contract                                     Austin, TX 78738


2.19.     State what the contract or        Fractal Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fractal Resources, LLC
          List the contract number of any                               419 W 34th Street
                government contract                                     Houston, TX 77018




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Debtor 1 Eagle Valley Energy Partners, LLC                                       Case number (if known)
          First Name         Middle Name          Last Name



          Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.20.     State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        H3E, LLC
          List the contract number of any                               14 FLORENCE CT
                government contract                                     San Antonio, TX 78257-1685


2.21.     State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining                                   Hasinai Development, LLC
                                                                        3698 RR 620 S
          List the contract number of any                               Suite 113
                government contract                                     Austin, TX 78738-6811


2.22.     State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        Hickson Energy Corporation
          List the contract number of any                               403 HAZELTINE DR
                government contract                                     Lakeway, TX 78734


2.23.     State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        Huang & Thompson Investments, LLC
          List the contract number of any                               5900 Balcones Drive, Suite 100
                government contract                                     Austin, TX 78731


2.24.     State what the contract or        Independent Manager
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Jonathan J. Nash
          List the contract number of any                               2101 Old Mill Rd.
                government contract                                     Cedar Park, TX 78613




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                                                89
Debtor 1 Eagle Valley Energy Partners, LLC                                       Case number (if known)
          First Name         Middle Name          Last Name



          Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.25.     State what the contract or        Pipeline Easement
          lease is for and the nature of    Contract
          the debtor's interest

             State the term remaining
                                                                        Margie Starke and Edward Starke
          List the contract number of any                               6001 Kelsing Cove
                government contract                                     Austin, TX 78835


2.26.     State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining                                   MBOE, Inc.
                                                                        1020 E LEVEE ST
          List the contract number of any                               Suite 130
                government contract                                     Dallas, TX 75207-4032


2.27.     State what the contract or        Acquisition,
          lease is for and the nature of    Development, and Area
          the debtor's interest             of Mutual Interest
                                            Agreement
             State the term remaining                                   Meredith Land & Minerals Company
                                                                        1001 MCKINNEY ST
          List the contract number of any                               Suite 2200
                government contract                                     Houston, TX 77002


2.28.     State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining                                   New Dawn Energy, LLC
                                                                        3100 S GESSNER
          List the contract number of any                               Suite 105
                government contract                                     Houston, TX 77063


2.29.     State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        Playmoore Venures, LLC
          List the contract number of any                               5891 STATE HIGHWAY 119
                government contract                                     Gillett, TX 78116-4519




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                                                89
Debtor 1 Eagle Valley Energy Partners, LLC                                       Case number (if known)
          First Name         Middle Name          Last Name



          Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.30.     State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining                                   RJH ENERGY, LTD.
                                                                        3001 RR 620 South
          List the contract number of any                               Suite 322
                government contract                                     AUSTIN, TX 78738-6887


2.31.     State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining                                   RJH ENERGY, LTD.
                                                                        3001 RR 620 South
          List the contract number of any                               Suite 322
                government contract                                     AUSTIN, TX 78738-6887


2.32.     State what the contract or        Well Deadline
          lease is for and the nature of    Extension
          the debtor's interest

             State the term remaining       Unknown
                                                                        ROCK HOUSE RESOURCES LLC
          List the contract number of any                               316 Bailey Avenue, Suite 100
                government contract                                     FORT WORTH, TX 76107


2.33.     State what the contract or        Well Deadline
          lease is for and the nature of    Extension
          the debtor's interest

             State the term remaining       Unknown
                                                                        ROCK HOUSE RESOURCES LLC
          List the contract number of any                               316 Bailey Avenue, Suite 100
                government contract                                     FORT WORTH, TX 76107


2.34.     State what the contract or        Well Deadline
          lease is for and the nature of    Extension
          the debtor's interest

             State the term remaining       Unknown
                                                                        ROCK HOUSE RESOURCES LLC
          List the contract number of any                               316 Bailey Avenue, Suite 100
                government contract                                     FORT WORTH, TX 76107




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                                                89
Debtor 1 Eagle Valley Energy Partners, LLC                                       Case number (if known)
          First Name         Middle Name          Last Name



          Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.35.     State what the contract or        Well Deadline
          lease is for and the nature of    Extension
          the debtor's interest

             State the term remaining       Unknown
                                                                        ROCK HOUSE RESOURCES LLC
          List the contract number of any                               316 Bailey Avenue, Suite 100
                government contract                                     FORT WORTH, TX 76107


2.36.     State what the contract or        Acquisition,
          lease is for and the nature of    Development, and Area
          the debtor's interest             of Mutual Interest
                                            Agreement
             State the term remaining                                   Rock House Resources, LLC
                                                                        3973 W. Vickery
          List the contract number of any                               Suite 101
                government contract                                     Fort Worth, TX 76107


2.37.     State what the contract or        Deja Vu Prospect
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining
                                                                        Shepherd Royalty, LLC
          List the contract number of any                               5949 SHERRY LANE SUITE 1175
                government contract                                     Dallas, TX 75225


2.38.     State what the contract or        Engagement Letter
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Stephens Inc.
          List the contract number of any                               111 Center Street
                government contract                                     Little Rock, AR 72201


2.39.     State what the contract or        Acquisition and
          lease is for and the nature of    Development
          the debtor's interest             Agreement

             State the term remaining                                   Two Rivers Energy Investors, LP
                                                                        3698 Ranch Road 620 South
          List the contract number of any                               Suite 113
                government contract                                     Austin, TX 78738




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                                              89
Fill in this information to identify the case:

Debtor name      Eagle Valley Energy Partners, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Eagle Valley                13413 Galleria Circle, Suite Q-100                       AB Eagle Holdings,              D       2.1
          Development,                Austin, TX 78738                                         LLC                              E/F
          LLC
                                                                                                                               G



   2.2    Eagle Valley                13413 Galleria Circle, Suite Q-100                       AB Eagle Holdings,              D       2.1
          Minerals, LLC               Austin, TX 78738                                         LLC                              E/F
                                                                                                                               G



   2.3    Eyrie Holdings,             13413 Galleria Circle, Suite Q-100                       AB Eagle Holdings,              D       2.1
          LLC                         Austin, TX 78738                                         LLC                              E/F
                                                                                                                               G



   2.4    Eyrie Mineral               13413 Galleria Circle, Suite Q-100                       AB Eagle Holdings,              D       2.1
          Holdings, LP                Austin, TX 78738                                         LLC                              E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Eagle Valley Energy Partners, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                             amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,           Sources of revenue                      Gross revenue
      which may be a calendar year                                                   Check all that apply                    (before deductions and
                                                                                                                             exclusions)

      From the beginning of the fiscal year to filing date:                           Operating a business                                      $0.00
      From 1/01/2023 to Filing Date
                                                                                      Other


      For prior year:                                                                 Operating a business                                      $0.00
      From 1/01/2022 to 12/31/2022
                                                                                      Other


      For year before that:                                                           Operating a business                                      $0.00
      From 1/01/2021 to 12/31/2021
                                                                                      Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                     Description of sources of revenue       Gross revenue from
                                                                                                                             each source
                                                                                                                             (before deductions and
                                                                                                                             exclusions)

      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                  Interest Income                                          $993.00


      For prior year:
      From 1/01/2022 to 12/31/2022                                                   Interest Income                                          $163.00


      For year before that:
      From 1/01/2021 to 12/31/2021                                                   Interest Income                                           $18.00


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy


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Debtor       Eagle Valley Energy Partners, LLC                                                  Case number (if known)




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    See SOFA #30                                                                                 $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000


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Debtor      Eagle Valley Energy Partners, LLC                                                      Case number (if known)




      None
             Recipient's name and address               Description of the gifts or contributions                  Dates given                         Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and              Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                            lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received                If not money, describe any property transferred              Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                              Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
             Who received transfer?                     Description of property transferred or                     Date transfer            Total amount or
             Address                                    payments received or debts paid in exchange                was made                          value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
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Debtor      Eagle Valley Energy Partners, LLC                                                    Case number (if known)



    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




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Debtor      Eagle Valley Energy Partners, LLC                                                   Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Desks                                         Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Bookcases                                     Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Office Chairs                                 Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Desk Chairs                                   Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            XL Conference Table                           Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Small Conference Table                        Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Map Racks                                     Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Computer Monitors                             Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            TX XL Minitors                                Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Lounge Chairs                                 Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                              Location of the property              Describe the property                               Value
      Matthew Telfer                                        BBX Office                            Wall Art                                      Unknown
      516 Ladin Lane
      Austin, TX 78734


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Debtor      Eagle Valley Energy Partners, LLC                                              Case number (if known)



      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Large Wood Eagle Carving      Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Glass Coffee Table            Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Credenzas                     Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Wooden 2-Drawer File          Unknown
      516 Ladin Lane                                                                         Cabinet
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Metal 2-Drawer File Cabinet   Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Metal 4-Drawer File Cabinet   Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Executive Chairs              Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Couch                         Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Rug                           Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            XL Printer                    Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Konica Copier Machine         Unknown
      516 Ladin Lane
      Austin, TX 78734

      Owner's name and address                         Location of the property              Describe the property            Value
      Matthew Telfer                                   BBX Office                            Shredders                     Unknown
      516 Ladin Lane
      Austin, TX 78734


Part 12:    Details About Environment Information
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Debtor      Eagle Valley Energy Partners, LLC                                                   Case number (if known)




For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.                                             Oil & Gas Exploration and                         EIN:
            Eagle Valley Development,                                                                               XX-XXXXXXX
            LLC                                      Development
            13413 Galleria Circle, Suite                                                               From-To      9/18/2018 - present
            Q-100
            Austin, TX 78738

   25.2.                                             Oil & Gas Exploration and                         EIN:
            Eyrie Mineral Holdings, LP                                                                              XX-XXXXXXX
            13413 Galleria Circle, Suite             Development
            Q-100                                                                                      From-To      6/1/2020 - present
            Austin, TX 78738




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Debtor      Eagle Valley Energy Partners, LLC                                                   Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.3.                                             Oil & Gas Exploration and                         EIN:
            Eagle Valley Minerals, LLC                                                                              XX-XXXXXXX
            13413 Galleria Circle, Suite             Development
            Q-100                                                                                      From-To      6/1/2020 - present
            Austin, TX 78738

   25.4.                                             Oil & Gas Exploration and                         EIN:
            Eyrie Holdings, LLC                                                                                     XX-XXXXXXX
            13413 Galleria Circle, Suite             Development
            Q-100                                                                                      From-To      9/18/2018 - present
            Austin, TX 78738


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Kelli Poole                                                                                                        11/2018-07/2021
                    2430 Stone Castle Circle
                    College Station, TX 77845
      26a.2.        James A Wilkins                                                                                                    05/2020-01/2022
                    4006 Eck Lane
                    Dripping Springs, TX 78620
      26a.3.        Laurel Vance                                                                                                       11/2018-Current
                    710 Deer Creek Circle
                    Dripping Springs, TX 78620
      26a.4.        Jim Griffin                                                                                                        01/18/2022-Current
                    9687 East Arbor Place
                    Englewood, CO 80111

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

            None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        BDO USA LLP                                                                                                        10/2020-05/2021
                    515 Congress Ave
                    Suite 2600
                    Austin, TX 78701
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.2.        Weaver & Tidwell LLP                                                                                               10/2021-06/2022
                    2821 West 7th Street
                    Fort Worth, TX 76107

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

            None




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Debtor      Eagle Valley Energy Partners, LLC                                                   Case number (if known)



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Laurel Vance                                                                     11/2018-Current
                    710 Deer Creek Circle
                    Dripping Springs, TX 78620

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.        AB Energy Opportunity Fund
                    501 Commerce Street
                    Nashville, TN 37203
      26d.2.        Travelers
                    4650 Westway Park Blvd
                    Houston, TX 77041

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Cody Richards                           501 Commerce St                                     Board Member
                                              Nashville, TN 37203

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jonathan J Nash                         2101 Old Mill Rd                                    Independent Manager
                                              Cedar Park, TX 78613

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Matthew Telfer                          13413 Galleria Circle                               Board Member
                                              Bldg Q, Suite 100
                                              Austin, TX 78734
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Matthew Telfer                          13413 Galleria Circle                               CEO
                                              Bldg Q, Suite 100
                                              Austin, TX 78734
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Michael Land                            501 Commerce St                                     Board Member
                                              Nashville, TN 37203

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Petter Stensland                        501 Commerce St                                     Board Member
                                              Nashville, TN 37203



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Debtor      Eagle Valley Energy Partners, LLC                                                  Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Gary Barton                            909 Fannin St., Ste. 4000                           Chief Restructuring Officer
                                             Houston, TX 77010



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      David Martineau                        2907 Navidad Cove                                   Board Member                       11/2018-04/2021
                                             Austin, TX 78735

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      David Martineau                        2907 Navidad Cove                                   President                          11/2018-04/2021
                                             Austin, TX 78735

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Mark J. Helmueller                     13413 Galleria Circle                               Board Member                       11/2018-11/2022
                                             Building Q, Suite 100
                                             Austin, TX 78738
      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Mark J. Helmueller                     13413 Galleria Circle                               General Counsel                    11/2018-11/2022
                                             Building Q, Suite 100
                                             Austin, TX 78738

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                         $77,375.03                                                02/04/2022

             Relationship to debtor
             Related Entity




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Debtor      Eagle Valley Energy Partners, LLC                                              Case number (if known)



             Name and address of recipient       Amount of money or description and value of                Dates        Reason for
                                                 property                                                                providing the value
      30.2 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $325,576.92                                                02/25/2022

             Relationship to debtor
             Related Entity


      30.3 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $100,000.00                                                02/28/2022

             Relationship to debtor
             Related Entity


      30.4 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $70,181.77                                                 03/03/2022

             Relationship to debtor
             Related Entity


      30.5 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $125,000.00                                                03/18/2022

             Relationship to debtor
             Related Entity


      30.6 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $58,897.96                                                 03/25/2022

             Relationship to debtor
             Related Entity


      30.7 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $159,787.00                                                03/29/2022

             Relationship to debtor
             Related Entity




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Debtor      Eagle Valley Energy Partners, LLC                                              Case number (if known)



             Name and address of recipient       Amount of money or description and value of                Dates        Reason for
                                                 property                                                                providing the value
      30.8 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $63,483.02                                                 04/01/2022

             Relationship to debtor
             Related Entity


      30.9 Eagle Valley Development,
      .    LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $175,000.00                                                04/18/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      0.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $180,571.40                                                04/27/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      1.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $86,942.32                                                 04/29/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      2.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $222,809.47                                                05/25/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      3.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $105,832.12                                                06/01/2022

             Relationship to debtor
             Related Entity




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Debtor      Eagle Valley Energy Partners, LLC                                              Case number (if known)



             Name and address of recipient       Amount of money or description and value of                Dates        Reason for
                                                 property                                                                providing the value
      30.1 Eagle Valley Development,
      4.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $100,000.00                                                06/14/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      5.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $469,481.52                                                06/27/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      6.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $75,058.68                                                 07/13/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      7.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $320,036.62                                                07/28/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      8.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $320,036.62                                                07/31/2022

             Relationship to debtor
             Related Entity


      30.1 Eagle Valley Development,
      9.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $320,036.62                                                07/31/2022

             Relationship to debtor
             Related Entity




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Debtor      Eagle Valley Energy Partners, LLC                                              Case number (if known)



             Name and address of recipient       Amount of money or description and value of                Dates        Reason for
                                                 property                                                                providing the value
      30.2 Eagle Valley Development,
      0.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $89,612.01                                                 08/10/2022

             Relationship to debtor
             Related Entity


      30.2 Eagle Valley Development,
      1.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $33,906.07                                                 08/19/2022

             Relationship to debtor
             Related Entity


      30.2 Eagle Valley Development,
      2.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $75,492.83                                                 09/01/2022

             Relationship to debtor
             Related Entity


      30.2 Eagle Valley Development,
      3.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $33,920.44                                                 09/20/2022

             Relationship to debtor
             Related Entity


      30.2 Eagle Valley Development,
      4.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $25,000.00                                                 09/27/2022

             Relationship to debtor
             Related Entity


      30.2 Eagle Valley Development,
      5.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $39,000.00                                                 09/29/2022

             Relationship to debtor
             Related Entity




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Debtor      Eagle Valley Energy Partners, LLC                                              Case number (if known)



             Name and address of recipient       Amount of money or description and value of                Dates        Reason for
                                                 property                                                                providing the value
      30.2 Eagle Valley Development,
      6.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $39,000.00                                                 09/29/2022

             Relationship to debtor
             Related Entity


      30.2 Eagle Valley Development,
      7.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $94,802.50                                                 10/03/2022

             Relationship to debtor
             Related Entity


      30.2 Eagle Valley Development,
      8.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $212,523.16                                                10/26/2022

             Relationship to debtor
             Related Entity


      30.2 Eagle Valley Development,
      9.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $280,000.00                                                11/29/2022

             Relationship to debtor
             Related Entity


      30.3 Eagle Valley Development,
      0.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $10,000.00                                                 12/13/2022

             Relationship to debtor
             Related Entity


      30.3 Eagle Valley Development,
      1.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $335,000.00                                                12/28/2022

             Relationship to debtor
             Related Entity




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Debtor      Eagle Valley Energy Partners, LLC                                              Case number (if known)



             Name and address of recipient       Amount of money or description and value of                Dates        Reason for
                                                 property                                                                providing the value
      30.3 Eagle Valley Development,
      2.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $22,492.50                                                 12/30/2022

             Relationship to debtor
             Related Entity


      30.3 Eagle Valley Development,
      3.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $652,115.19                                                01/09/2023

             Relationship to debtor
             Related Entity


      30.3 Eagle Valley Development,
      4.   LLC
             13413 Galleria Cir. Bldg 2
             Suite 100
             Austin, TX 78738                    $46,657.84                                                 01/10/2023

             Relationship to debtor
             Related Entity


      30.3 Eagle Valley Development,
      5.   LLC
             13413 Galleria Circle
             Building Q, Suite 100                                                                                       InterCompany
             Austin, TX 78738                    -$3,733,290,03                                             01/13/2023   Offset Entry

             Relationship to debtor
             Related Entity


      30.3                                                                                                               Transfer from
      6.   Eagle Valley Development,                                                                                     Eagle Valley
             LLC                                                                                                         Energy Partners,
             13413 Galleria Circle                                                                                       LLC to Eagle
             Building Q, Suite 100                                                                                       Valley
             Austin, TX 78738                    -$39,000.00                                                01/13/2023   Development, LLC

             Relationship to debtor
             Related Entity


      30.3                                                                                                               Transfer from
      7.   Eagle Valley Development,                                                                                     Eagle Valley
             LLC                                                                                                         Energy Partners,
             13413 Galleria Circle                                                                                       LLC to Eagle
             Building Q, Suite 100                                                                                       Valley
             Austin, TX 78738                    $343,482.71                                                01/13/2023   Development, LLC

             Relationship to debtor
             Related Entity




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Debtor      Eagle Valley Energy Partners, LLC                                                   Case number (if known)



             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.3                                                                                                                         Transfer from
      8.   Eagle Valley Development,                                                                                               Eagle Valley
             LLC                                                                                                                   Energy Partners,
             13413 Galleria Circle                                                                                                 LLC to Eagle
             Building Q, Suite 100                                                                                                 Valley
             Austin, TX 78738                          $4,714,687.25                                             01/13/2023        Development, LLC

             Relationship to debtor
             Related Entity


      30.3 Eyrie Holdings, LLC
      9.   13413 Galleria Circle
             Bldg Q, Suite 100                                                                                                     InterCompany
             Austin, TX 78738                          $0.00                                                     01/13/2023        Offset Entry

             Relationship to debtor
             Related Entity


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      No
          Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation
   Eagle Valley Operating LLC                                                                          EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         January 27, 2023

/s/ Gary Barton                                                 Gary Barton
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 17
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                                                      United States Bankruptcy Court
                                                                Western District of Texas
 In re     Eagle Valley Energy Partners, LLC                                                                      Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
AB Eagle Holdings, LLC                                      Class A Units         17,848,122
1345 Avenue of the Americas
New York, NY 10105

David Martineau                                             Class B Units         4750
2907 Navidad Cove
Austin, TX 78735

Eagle Valley Energy, LLC                                    Class A Units         6,396,635
13413 Galleria Circle, Suite Q-100
Austin, TX 78738

Mark J. Helmueller                                          Class B Units         500
13413 Galleria Circle
Building Q, Suite 100
Austin, TX 78738

Matthew Telfer                                              Class B Units         4750
516 Ladin Lane
Austin, TX 78734


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date January 27, 2023                                                    Signature /s/ Gary Barton
                                                                                        Gary Barton

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                United States Bankruptcy Court
                                                       Western District of Texas
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                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Restructuring Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:      January 27, 2023                              /s/ Gary Barton
                                                         Gary Barton/Chief Restructuring Officer
                                                         Signer/Title
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}




                           A.K. EUGSTER AND KATHE EUGSTER
                           3450 S. OCEAN BLVD
                           Apt 316
                           PALM BEACH, FL 33480


                           AB Eagle Holdings, LLC
                           1345 Avenue of the Americas
                           New York, NY 10105


                           AB Energy Opportunity Fund
                           501 Commerce Street
                           Nashville, TN 37203


                           Akin Gump Strauss Hauer & Feld LLP
                           1111 Louisiana St
                           44th Floor
                           Houston, TX 77002


                           Amwins Brokerage
                           5910 North Central Expressway
                           Suite 500
                           Dallas, TX 75206


                           AXIS Insurance
                           10000 Avalon Blvd.
                           Suite 200
                           Alpharetta, GA 30009


                           BARBARA ANN OWENS
                           9931 BUSSEY ROAD
                           SILSBEE, TX 77656


                           BDO USA LLP
                           515 Congress Avenue
                           Suite 2600
                           Austin, TX 78701


                           BELTRAND PROPERTIES LLC
                           ATTN: CLAIRE BELTRAND, PRESIDENT
                           COLLEGE STATION, TX 77842


                           BETTY J. MAYO
                           214 N. YAUPON DRIVE
                           SOMERVILLE, TX 77879
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                       BETTY JO POHL
                       5607 SPANISH OAK DRIVE
                       HOUSTON, TX 77066


                       Border to Border #1, LP
                       3698 RR 620 South, Ste. 113
                       Austin, TX 78738


                       Border to Border Exploration, LLC
                       3698 RANCH ROAD 620 S, STE 113
                       Austin, TX 78738


                       BRAZOS COUNTY FARM BUREAU
                       P.O. BOX 6568
                       BRYAN, TX 77805


                       Brazos Valley Exploration, LP
                       3698 RR 620 S, Ste. 113
                       Austin, TX 78738


                       BTE ENERGY LLC
                       3001 RR 620 S, Ste. 321
                       AUSTIN, TX 78738-6887


                       CAA Premium Financing Funding LLC
                       6805 N Capital of Texas Hwy
                       Suite 320
                       Austin, TX 78731


                       CAROL ANN STERN CHRISTIAN
                       1219 WOOD HAVEN COURT
                       SUGARLAND, TX 77479


                       Chandraco, LP
                       1841 Broken Bend Drive
                       Westlake, TX 76262


                       Crown Pine Timber 1, LP
                       702 N TEMPLE DRIVE
                       DIBOLL, TX 75941


                       CT Corporation
                       P.O. BOX 4349
                       CAROL STREAM, IL 60197-4349
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                       DAVID LEE BEAL
                       122 E. GREEN GABLES CIRCLE
                       THE WOODLANDS, TX 77382


                       David T. Martineau
                       2907 Navidad Cove
                       Austin, TX 78735


                       Drilling Info, Inc. (Enverus)
                       2901 Viua Fortuna
                       Building 6, Suite 200
                       Austin, TX 78746


                       DW Energy Group, LLC
                       104 DECKER CT, STE 300
                       Irving, TX 75062-2757


                       Eagle Valley Development, LLC
                       13413 Galleria Circle, Suite Q-100
                       Austin, TX 78738


                       Eagle Valley Minerals, LLC
                       13413 Galleria Circle, Suite Q-100
                       Austin, TX 78738


                       Eagle Valley Operating, LLC
                       13413 Galleria Circle,
                       Building Q, Suite 100
                       Austin, TX 78738


                       EPA - Region 6
                       Attn: Bankruptcy Division
                       1201 Elm Street, Suite 500
                       Dallas, TX 75270


                       Evanston Insurance Company
                       10275 West Higgins Road
                       Suite 750
                       Rosemont, IL 60018


                       Eyrie Holdings, LLC
                       13413 Galleria Circle, Suite Q-100
                       Austin, TX 78738
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                       Eyrie Mineral Holdings, LP
                       13413 Galleria Circle, Suite Q-100
                       Austin, TX 78738


                       First Insurance Funding
                       450 Skokie Blvd., Ste. 1000
                       Northbrook, IL 60062


                       Fractal Resources, LLC
                       419 W 34th Street
                       Houston, TX 77018


                       GLEN R. KIRKHAM AND WIFE, SHARON R. KIRK
                       114 N. SANTA CLARA DRIVE
                       ROCKPORT, TX 78382


                       GRACE N. BEAL
                       11 RANCHERO ROAD
                       COLLEGE STATION, TX 77845


                       H3E, LLC
                       14 FLORENCE CT
                       San Antonio, TX 78257-1685


                       Hasinai Development, LLC
                       3698 RR 620 S
                       Suite 113
                       Austin, TX 78738-6811


                       Hickson Energy Corporation
                       403 HAZELTINE DR
                       Lakeway, TX 78734


                       Huang & Thompson Investments, LLC
                       5900 Balcones Drive, Suite 100
                       Austin, TX 78731


                       Internal Revenue Service
                       Centralized Insolvency Operations
                       P.O. Box 7346
                       Philadelphia, PA 19101


                       JAMES A. FERGUSON AND CONNIE J. FERGUSON
                       14 VISTA LANE
                       COLLEGE STATION, TX 77845
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                       JAMES W. ALBERT AND SUNNY ALBERT
                       P.O. BOX 1259
                       KATY, TX 77492


                       JANET KRUPA
                       17 VISTA LANE
                       COLLEGE STATION, TX 77845


                       JANIS LYNNE WILLIAMS
                       18411 199TH PLACE NORTHEAST
                       WOOBINVILLE, WA 98077


                       John Seth Bullard
                       470 Orleans St
                       Beaumont, TX 77704-1751


                       Jonathan J. Nash
                       2101 Old Mill Rd.
                       Cedar Park, TX 78613


                       JULIA STEWART
                       6515 SJOLANDER RD.
                       BAYTOWN, TX 77521


                       KENNETH M. CRUIKSHANK, JR.
                       1137 APACHE TEARS
                       HORSESHOE BAY, TX 78657


                       Laird Insurance Agency
                       2700 Stone Road
                       P O Box 7000
                       Kilgore, TX 75663


                       LISA STIFFLEMIRE
                       P.O. BOX 1401
                       CHANNELVIEW, TX 77530


                       MANTON P. STEWART, JR.
                       PO BOX 1081
                       ANAHAUC, TX 77514


                       Margie Starke and Edward Starke
                       6001 Kelsing Cove
                       Austin, TX 78835
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                       MBOE, Inc.
                       1020 E LEVEE ST
                       Suite 130
                       Dallas, TX 75207-4032


                       Meredith Land & Minerals Company
                       1001 MCKINNEY ST
                       Suite 2200
                       Houston, TX 77002


                       MICHELLE STIFFLEMIRE
                       P.O. BOX 331
                       SOMERVILLE, TX 77879


                       New Dawn Energy, LLC
                       3100 S GESSNER
                       Suite 105
                       Houston, TX 77063


                       NTX Insurance Group, Inc.
                       dba Laird Insurance
                       2700 Stone Rd.
                       Kilgore, TX 75662


                       Office of the Attorney General
                       Bankruptcy Section
                       PO Box 12548
                       Austin, TX 78711-2548


                       Playmoore Venures, LLC
                       5891 STATE HIGHWAY 119
                       Gillett, TX 78116-4519


                       RICHARD E. STEWART
                       6515 SJOLANDER RD.
                       BAYTOWN, TX 77521


                       RJH ENERGY, LTD.
                       3001 RR 620 South
                       Suite 322
                       AUSTIN, TX 78738-6887


                       ROCK HOUSE RESOURCES LLC
                       316 Bailey Avenue, Suite 100
                       FORT WORTH, TX 76107
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                       Rock House Resources, LLC
                       3973 W. Vickery
                       Suite 101
                       Fort Worth, TX 76107


                       RONALD HENRY STERN
                       2319 ROBINHOOD
                       HOUSTON, TX 77005


                       SANDRA STIFFLEMIRE
                       P.O. BOX 9493
                       COLLEGE STATION, TX 77842


                       Shepherd Royalty, LLC
                       5949 SHERRY LANE SUITE 1175
                       Dallas, TX 75225


                       SHERWOOD E. STEWART
                       51 TAPESTRY FOREST PLACE
                       THE WOODLANDS, TX 77381


                       Starr Indemnity & Liability Company
                       399 Park Avenue
                       New York, NY 10022


                       STEPHEN N. BEAL
                       3809 RAVENWOOD DRIVE
                       BRYAN, TX 77802


                       Stephens Inc.
                       111 Center Street
                       Little Rock, AR 72201


                       Sylvia Rekoff
                       16 Quintana
                       GALVESTON, TX 77554


                       TCEQ
                       Attn: BKCY Division
                       P.O. Box 13087
                       Austin, TX 78711
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                       Texas Comptroller of Public Accounts
                       Revenue Accounting Div- BK Section
                       P.O. Box 12548, MC-008
                       Austin, TX 78711


                       Texas Railroad Commission
                       Enforcement Division
                       Office of General Counsel
                       P.O. Box 12967
                       Austin, TX 78711


                       Texas Workforce Commission
                       TWC Building - Regulatory Integrity Div.
                       101 East 15th Street
                       Austin, TX 78778


                       Towerstone
                       14221 Dallas Pkwy., Ste. 700
                       Dallas, TX 75254


                       Traverlers Insurance
                       One Tower Square
                       Hartford, CT 06183


                       Two Rivers Energy Investors, LP
                       3698 Ranch Road 620 South
                       Suite 113
                       Austin, TX 78738


                       U.S. Securities and Exchange Commision
                       444 S. Flower St.
                       Suite 900
                       Los Angeles, CA 90071-9591


                       United States Attorney
                       Civil Process Clerk
                       601 NW Loop 410, Suite 600
                       San Antonio, TX 78216


                       WARDEN FAMILY TRUST
                       2311 KENT
                       BRYAN, TX 77802


                       Weaver & Tidwell LLP
                       2821 West 7th St.
                       FORT WORTH, TX 76107
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                       WELDON E. JORDAN
                       10 VISTA LANE
                       COLLEGE STATION, TX 77845
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                                                 Western District of Texas
 In re     Eagle Valley Energy Partners, LLC                                           Case No.
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                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Eagle Valley Energy Partners, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
AB Eagle Holdings, LLC
1345 Avenue of the Americas
New York, NY 10105
Eagle Valley Energy, LLC
13413 Galleria Circle, Suite Q-100
Austin, TX 78738




 None [Check if applicable]




January 27, 2023                                 /s/ Tom A. Howley
Date                                             Tom A. Howley 24010115
                                                 Signature of Attorney or Litigant
                                                 Counsel for Eagle Valley Energy Partners, LLC
                                                 HOWLEY LAW PLLC
                                                 Pennzoil Place – South Tower
                                                 711 Louisiana Street, Suite 1850
                                                 Houston, Texas 77002
                                                 Phone: 713-333-9125
                                                 tom@howley-law.com
